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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
        Frank Capobianco,
                                         Case No. 2:20-cv-08025
              Plaintiff,

        v.
                                                        JOINT Stipulation of Dismissal
        Westlake Services, LLC,

              Defendant.
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 2                         JOINT STIPULATION OF DISMISSAL

 3           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) the Parties hereby

 4     file this Joint Stipulation of Dismissal with prejudice, each party to bear their own

 5     costs and fees.

 6     Counsel for Plaintiff                        Counsel for Defendant

 7     /s/Philip R. Goldberg                        /s/Benjamin J. Carter
 8     Philip R. Goldberg                           Benjamin J. Carter

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